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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
United States Of America                  §
                                          §     CIVIL NO:
vs.                                       §     AU:21-CV-00796-RP
                                          §
State of Texas                            §

       ORDER CANCELLING MOTIONS HEARING BY VIDEO
       IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for MOTIONS HEARING BY VIDEO on Wednesday, September 22, 2021 at 03:00 PM is
hereby CANCELLED until further order of the court.

        IT IS SO ORDERED this 22nd day of September, 2021.




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                                          ROBERT PITMAN
                                          UNITED STATES DISTRICT JUDGE
